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                           UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF RHODE ISLAND

 UNITED STATES OF AMERICA                      :
                                               :
        v.                                     :              CR No. 21-CR-00062-JJM-03
                                               :
 ANDRES GARAY                                  :

              MEMORANDUM AND ORDER DENYING MOTION FOR BAIL

 PATRICIA A. SULLIVAN, United States Magistrate Judge.

 I.     Background

        This case alleges a conspiracy among five defendants to use the United States Postal

 Service to engage in significant trafficking of cocaine mailed from Puerto Rico and to aid and

 abet the kidnapping of a postal worker when one of the packages was delivered empty. At arrest

 on June 9, 2021, Defendant Andres Garay was initially detained based on the rebuttable

 presumption triggered by the offense then charged – conspiracy to traffic 500 grams or more of

 cocaine. Defendant did not argue for release. On November 2, 2022, the grand jury found

 probable cause and returned the Second Superseding Indictment (“SSI”) (ECF No. 81) charging

 Defendant and four coconspirators with four offenses. Three of these are Counts based on drug

 trafficking: Count 1, conspiracy to traffic five kilograms or more of cocaine; Count 3, trafficking

 500 grams or more of cocaine; and Count 4, attempted trafficking 500 grams or more of cocaine.

 Id. In Count 2, the SSI charges Defendant and others with the offense of aiding and abetting the

 kidnapping of a letter carrier employed by the United States Postal Service. Id.

        Pursuant to the Bail Reform Act (“BRA”), all four offenses charged in the SSI

 contemplate that a detention hearing is authorized. 18 U.S.C. § 3142(f)(1)(A), (B), (C), (D).

 The three drug trafficking offenses carry the rebuttable presumption that no condition or

 combination of conditions will reasonably assure public safety or the appearance of Defendant;
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 the kidnapping offense does not. 18 U.S.C. § 3142(e)(3)(A). The drug charges carry mandatory

 minimum sentences upon conviction of ten years (Count 1) and five years (Counts 3 and 4). On

 May 9, 2023, the government filed a notice of prior conviction as to Defendant, based on which

 the mandatory minimum term of incarceration for Count 1 is fifteen years and for Counts 3 and 4

 is ten years. ECF No. 103 (“Notice of Enhanced Penalties”). Because of the drug charges, the

 parties agree that the estimated guidelines range applicable to Defendant is likely to be

 significant, “around twenty years” of incarceration according to Defendant, between 135 and 262

 months of incarceration according to the government.

        After the grand jury returned the SSI but before filing of the Notice of Enhanced

 Penalties, Defendant moved for bail for the first time. ECF No. 93. In support, he argued that

 the government’s evidence against him is circumstantial and weak and that he has strong ties to

 Rhode Island and could present a release plan (residence and employment) adequate to support

 the setting of conditions. Id. Following briefing (including supplemental briefing by Defendant)

 and a hearing, the Court issued the Amended Detention Order on February 23, 2023. ECF No.

 98. In it, as to the nature and circumstances of the charged offenses, the Court found that they

 include a crime of violence (aiding and abetting kidnapping) and serious allegations of drug

 trafficking, which “ha[ve] sufficient weight both as to drug trafficking and aiding and abetting

 the kidnapping as to create significant concerns both as to flight and danger to the community.”

 Id. at 3. As to Defendant’s history and characteristics, the Court found that Defendant is a poor

 candidate for release. First, the Court focused on Defendant’s two prior convictions for drug

 trafficking and pattern of violating supervised release (including drug trafficking while on

 supervision) and his lack of meaningful past employment. Collectively the Court found that this

 evidence clearly and convincingly established that Defendant’s release would likely lead to



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 continued drug trafficking, which poses significant danger to the public. Regarding both danger

 and risk of flight, the Court acknowledged Defendant’s extensive family ties in Rhode Island, but

 focused on the reality that these ties had no impact on Defendant’s past drug trafficking, as well

 as that the current set of offenses alleges a drug trafficking conspiracy and a kidnapping

 committed together with charged and uncharged individuals who are Defendant’s family

 members. Defendant’s substance use problem (alcohol) was treated as a minor factor. The Court

 ordered continued detention “[m]ore significantly,” based on the “danger posed to the

 community by Defendant’s persistent involvement in drug trafficking [that] cannot adequately be

 addressed by conditions,” as well as that “Defendant is not likely to comply with Court-ordered

 conditions, so that there is risk of flight that conditions would be insufficient to address.” Id.

          Now pending is Defendant’s renewed motion for bail (ECF No. 270), filed on February

 12, 2024.1 It is based on two circumstances that Defendant alleges have materially changed

 since the Court entered the Amended Detention Order on February 23, 2023:

 (1)      On January 23, 2024, the Court granted in part the motion to suppress filed by

          Defendant and other alleged conspirators. United States v. Medina, ___ F. Supp.

          3d ___, No. 21-CR-62-JJM-PAS, 2024 WL 246614 (D.R.I. Jan. 23, 2024),

          reconsideration denied, ECF No. 289 (D.R.I. Mar. 12, 2024), notice of appeal

          filed, ECF No. 292 (D.R.I. Mar. 21, 2024). Defendant argues that, by making




 1
   The BRA contemplates that “[t]he [detention] hearing may be reopened, before or after a determination by the
 judicial officer, at any time before trial if the judicial officer finds that information exists that was not known to the
 movant at the time of the hearing and that has a material bearing on the issue whether there are conditions of release
 that will reasonably assure the appearance of such person as required and the safety of any other person and the
 community.” United States v. Szpyt, No. 2:11-CR-228-GZS, 2013 WL 4039412, at *2 (D. Me. Aug. 7, 2013)
 (quoting 18 U.S.C. § 3142(f)(2)). The Court finds, and the government does not dispute, that Defendant’s new
 information is material and supports the reopening of Defendant’s detention hearing.


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            certain suppressed evidence2 inadmissible as to him, the suppression order

            significantly dilutes the weight of the evidence against him and undermines the

            Court’s Amended Detention Order finding that the evidence “has sufficient weight

            both as to drug trafficking and aiding and abetting the kidnapping as to create

            significant concerns both as to flight and danger to the community.” ECF No. 98

            at 3. He also contends that the remaining “untainted”3 evidence is so weak and

            circumstantial that the government should not be afforded the benefit of the

            rebuttable presumption of dangerousness and flight.

 (2)        Defendant has now been detained for over thirty-three months and the trial is

            likely to continue to be delayed, perhaps for an extended period because the

            government represents that it is considering an appeal.4

 In addition to these new circumstances, as a result of the intensity of the focus during the

 proceedings in connection with this bail motion on the untainted evidence against Defendant, the

 Court noted the government’s allegation that it has untainted evidence of Defendant’s 2020/2021

 travel to Puerto Rico while on supervision for his second drug trafficking conviction. The Court

 asked Pretrial Services to investigate the facts and to report to the parties and to the Court

 regarding whether and to what extent this travel impacts the BRA analysis. This information is

 addressed below as a third circumstance not previously considered that impacts the BRA

 determination. Finally, the Court asked about Defendant’s conduct during detention and was


 2
  The suppressed evidence that is now inadmissible as to Defendant includes the content of the phones found in the
 vehicle Defendant was driving at arrest, as well as certain cell site location information. Medina, 2024 WL 246614,
 at *18, 26.

 3
     I use this term to refer to evidence that is potentially admissible despite the suppression order.

 4
  At the time Defendant presented his arguments to the Court the government had not yet appealed; as of the writing
 of this decision, however, the Government has filed an appeal of the suppression order. See Medina, No. 21-CR-62-
 JJM-PAS, ECF No. 292.

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 advised that Defendant has had no discipline issues. In addition, Defendant asked the Court to

 consider a Defendant Exhibit (ECF No. 288-1) evidencing that, between April and August 2023,

 he took advantage of many E-Learning courses while detained. This information is addressed

 below as a fourth new circumstance impacting the BRA determination.

          In light of the serious concerns raised by this bail motion, the Court received briefs,

 conducted a lengthy bail hearing on March 4, 2024, and ordered the parties to file supplemental

 letters with case citations regarding specified points of applicable law. Moments prior to the

 commencement of the hearing and confirmed during the hearing, the Court learned that two

 matters critical to the setting of conditions – an acceptable residence5 and a potentially viable

 plan for employment6 – had not been presented to Pretrial Services. Therefore, the Court

 continued the bail hearing for two weeks to March 20, 2024, to allow time for Defendant to

 develop a concrete proposal and for Pretrial Services to investigate. I further advised the parties

 that, upon receipt of their supplemental letters (due on March 7, 2024), I would carefully review

 the law and the facts in light of the four new circumstances. If this analysis resulted in the

 conclusion that the Amended Detention Order should continue based on the finding that no

 condition or combination of conditions would be adequate to address the danger and/or risk of



 5
   Defendant’s motion for bail proposed that he would reside with his mother but, as Pretrial Services informed the
 Court, neither the mother nor Defendant’s sister responded to Pretrial Services’ attempts to review this proposal.
 Therefore, Pretrial Services was unable to advise the Court regarding its appropriateness. The government has
 argued vociferously that this residence plan is not appropriate inter alia because, in 2010, Defendant was found
 living with his mother in an apartment with a handgun, cocaine and drug trafficking paraphernalia and, in 2021,
 Defendant’s brother had been living with their mother and storing drugs in the mother’s residence prior to his arrest
 as a coconspirator in this case.
 6
   Defendant’s motion for bail proposed that he could return to working as an “independent contractor for Amazon,”
 ECF No. 270 ¶ 9, which he reported to Pretrial Services he has done in the past, but there was no investigation
 regarding whether Amazon might have such a job available or whether it would rehire him with these charges
 pending. Even more important, there is no information regarding what exactly Defendant might do as an Amazon
 “independent contractor.” As the parties were advised, the Court would have grave reservations about releasing this
 Defendant to do work that involves driving around with packages to deliver to people’s homes.


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 flight posed by Defendant’s release, so that there is no need for the parties and Pretrial Services

 to invest significant resources in developing a plan for a proposed residence and potential

 employment, I told the parties I would so advise them and cancel the continuation of the bail

 hearing. Having reached that determination for the reasons set forth below, I am issuing this

 Memorandum and Order and have canceled the hearing to consider release conditions.

 II.    New Circumstances, Applicable Law and Analysis

        A.      Suppression of Phone Content and Location Information

                1.      Applicable Law

        The BRA’s rebuttable presumption reflects Congress’s substantive judgment that

 particular classes of offenders should ordinarily be detained prior to trial once the government

 has established probable cause that the alleged offender committed such an offense. See United

 States v. Stone, 608 F.3d 939, 945-46 (6th Cir. 2010) (citing United States v. Jessup, 757 F.2d

 378, 384 (1st Cir. 1985)) (“Congress intended magistrates and judges, who typically focus only

 upon the particular cases before them, to take account of the more general facts that Congress

 found.”), abrogated on other grounds by United States v. O’Brien, 895 F.2d 810 (1st Cir.1990).

 The presumption is rebuttable and, in light of the presumption of innocence, it remains the

 government’s ultimate burden to prove that no conditions of release can adequately assure that

 the defendant will appear (a preponderance burden) and the safety of the community (a clear and

 convincing burden). United States v. Cotto-Velazquez, Crim No.: 23-238 (SCC), 2024 WL

 770758, at *1 (D.P.R. Feb. 23, 2024); see United States v. Travieso Ocasio, 7 F.3d 219, 1993 WL

 405705, at *2 (1st Cir. 1993) (unpublished table decision) (preponderance standard for

 defendant’s appearance); United States v. Davis, Criminal No. 23-cr-10018-DJC, 2023 WL

 1970085, at *1 (D. Mass. Feb. 13, 2023) (clear and convincing standard for safety).



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         To rebut the presumption, a defendant has the light burden of going forward with at least

 some evidence. Jessup, 757 F.2d at 384, 386-87. Once a defendant has done so, the court must

 determine whether the government has met its burden of persuasion by considering the § 3142(g)

 factors; as to any offense that carries the rebuttable presumption, this determination should focus,

 inter alia, on “‘the special features of [defendant’s] case’” that take it outside “‘the congressional

 paradigm.’” See Stone, 608 F.3d at 946 (quoting Jessup, 757 F.2d at 387). The BRA also directs

 that one of the § 3142(g) factors impacting the detention determination is the weight of the

 evidence of the offense; in addition, the court must consider the nature and seriousness of the

 danger to any person or the community that would be posed by release. 18 U.S.C. § 3142(g)(2),

 (4). Detention hearings, however, should not become de-facto mini-trials during which a

 defendant’s guilt or likelihood of conviction is debated; a grand jury indictment is sufficient to

 establish probable cause for purposes of detention and evidence of guilt is relevant only in terms

 of the likelihood that the person will fail to appear or will pose a danger to the community.

 United States v. Rodriguez-Adorno, 606 F. Supp. 2d 232, 237 (D.P.R. 2009). How to weigh each

 of the § 3142(g) factors remains within the discretion of the judicial officer making the review.

 Id. at 237 n.9.

         Consistent with the warning of Congress against turning detention hearings into mini-

 trials, the BRA memorializes the fundamental axiom that the “[t]he rules concerning

 admissibility of evidence in criminal trials do not apply to the presentation and consideration of

 information at the [detention] hearing.” 18 U.S.C. § 3142(f) (emphasis added). “[I]t is clear that

 section 3142(f)(2)(B)’s reference to ‘the rules concerning admissibility of evidence in criminal

 trials’ encompasses the Federal Rules of Evidence as well as constitutional rules, including the

 exclusionary rule under the Fourth Amendment.” United States v. Burciaga, No. 08 CR 1541



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 MV, 2011 WL 13285629, at *2 (D.N.M. July 29, 2011). Thus, “it is not improper for the district

 court to consider suppressed evidence in evaluating the weight of the evidence for detention

 purposes while the appeal [of the motion to suppress] is pending.” United States v. Workman,

 680 F. App’x 699, 701 (10th Cir. 2017) (per curiam) (internal quotation marks omitted) (citing

 United States v. Pina-Aboite, 97 F. App’x. 832, 835 (10th Cir. 2004) (per curiam)). Further, the

 rebuttable presumption of detention is based on probable cause to commit specified offenses,

 which is not determined by evidentiary rulings, but rather is based on the indictment. United

 States v. McCarty, No. CR. 08-00513 JMS, 2009 WL 5061577, at *3 (D. Haw. Dec. 24, 2009).

 As long as an indictment supported by probable cause remains viable, a suppression order does

 not impact it and the rebuttable presumption in favor of detainment still applies. Id. at *3-4

 (pending appeal of suppression order impacting all evidence against defendant, suppressed

 evidence considered; order of detention continued). Consistent with this principle, in one of the

 first cases to apply the BRA, our Circuit held that evidence subject to a legal challenge was

 appropriate for consideration during the detention hearing. United States v. Angiulo, 755 F.2d

 969, 974 (1st Cir. 1985). Angiulo leaves open whether and to what extent such evidence should

 be considered after “a court has decided that the material was not obtained legally.” Id.; see

 United States v. Duran, Cr. No. 1:09-MJ-243A, 2010 WL 1068177, at *2 (D.R.I. March 17,

 2010); United States v. Reynolds, 609 F. Supp. 2d 108, 111 (D. Me. 2009).

          Notwithstanding this foundational principle, the parties have brought to the Court’s

 attention (and, as to one case, that the Court itself has found) a handful of out-of-circuit cases7


 7
   Defendant also cites Szpyt, 2013 WL 4039412, but it is off the mark. In Szpyt, the court had entirely dismissed the
 pivotal charge so that it disappeared as an “offense” supported by probable cause for purposes of applying the BRA’s
 rebuttable presumption. Id. at *4. Nevertheless, while Szpyt does not involve suppressed evidence, it does cite, and
 I therefore have considered, cases dealing with suppressed evidence. Id. at *6-7. In addition, Defendant cites
 United States v. Chen, 820 F. Supp. 1205 (N.D. Cal. 1992), but it is not analogous either. Chen is a case in which
 the court emphatically found that danger had never been a factor. Id. at 1208. Dealing only with risk of flight, the
 court held that the problem with release was that the financial surety requirement set by the court and the declining

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 that illustrate circumstances when courts have exercised discretion to consider the impact of a

 suppression order in revisiting the detention determination. These courts have focused on the

 suppression order’s impact on certain of the § 3142(g) factors, specifically the offense and

 particularly the rebuttable presumption that it triggers, the weight of the evidence and the nature

 and seriousness of the danger to any person or the community. However, there is a unifying

 theme in these cases – in all but one, the suppression order did not just weaken the evidence but

 rather effectively removed from a future trial virtually all evidence essential to prove an offense

 that gives rise to a presumption of detention. And in one, while the suppression order had not yet

 issued, trial admissibility was the subject of ongoing proceedings, which had exposed the

 untrustworthiness of evidence that the government conceded must be suppressed. Further, in all

 but two of these cases, the court nevertheless continued pretrial detention.

          In United States v. Fulgham, No. CR 12-0124 CW KAW, 2012 WL 2792439 (N.D. Cal.

 July 9, 2012), much or all evidence of drug trafficking was suppressed so that it was unlikely that

 the defendant could be convicted unless the suppression order were overturned on appeal. Id. at

 *2. As a result, the court held that the presumption of detention was not triggered. Id.

 Nevertheless, the court held that consideration of the suppressed evidence was appropriate in

 determining the weight of the evidence and in that “consideration of the suppressed evidence

 [was] warranted under [a] cost-benefit analysis, particularly when applying the statutory release

 factors that bear on community safety,” including, the defendant’s possession of a large quantity

 of drugs and multiple felony drug convictions, which established that “he might pose a danger to

 the community if released.” Id. at *2, 4 (emphasis added) (quoting United States v. Jay, 261 F.


 value of defendants’ real estate left them unnecessarily detained due to their financial inability to post the required
 bond. Id. at 1210. The suppressed evidence seemed to play only a passing role in the court’s determination. See id.
 at 1211-12.


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 Supp. 2d 1235, 1239-40 (D. Or. 2003)). Despite detention having already lasted a year and a

 half, and a Ninth Circuit appeal of the suppression order pending, the court found that continued

 detention did not violate the defendant’s due process rights and that detention should continue

 because no conditions could be fashioned to reasonably assure the defendant’s appearance or the

 safety of the community. Id. at *4-5.

        In United States v. Burciaga, No. 08 CR 1541 MV, 2011 WL 13285629 (D.N.M. July 29,

 2011), the court granted a motion to suppress all evidence of the heroin found in the defendant’s

 vehicle, which was the basis for the offense that had triggered the rebuttable presumption. Id. at

 *1. While the appeal of the suppression order was pending, the court reconsidered detention; it

 acknowledged that the suppression of this evidence certainly impacted the weight of the

 evidence but held that the detention determination must continue to be informed by the

 rebuttable presumption, “‘the nature and circumstances of the offense charged, including whether

 the offense . . . involves a controlled substance; as well as the defendant’s community ties . . .

 [and] criminal history.’” 2011 WL 13285629, at *3 (quoting 18 U.S.C. § 3142(g)). Accordingly,

 the court concluded that the defendant’s history of drug offenses and his lack of ties to the

 District made him a flight risk “such that he cannot overcome the presumption of detention.” Id.

        In United States v. Barner, 743 F. Supp. 2d 225 (W.D.N.Y. 2010), the court focused on

 the well-settled principle that the government “retains the ultimate burden of persuasion by clear

 and convincing evidence that the defendant presents a danger to the community.” Id. at 228

 (internal quotation marks omitted). With detention approaching three years and an appeal of a

 suppression order pending, id. at 227, 231, coupled, with the government’s concession that, if the

 suppression order were sustained, the indictment would be dismissed, id. at 227, the court

 declined to find that the case involved an offense that triggered the rebuttable presumption. Id. at



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 229-30. Noting that strong evidence increases both the risk of flight because of the motivation to

 flee a likely conviction and the likelihood of danger because future incarceration can trigger

 dangerous behavior, it held conversely that “little to no evidence” shifts the motivation to make a

 person “less likely to pose a risk of nonappearance or to be a danger to the community.” Id. at

 233. Based on this analysis, release conditions were set and the defendant was released. Id. at

 233-34.

        In Jay, 261 F. Supp. 2d 1235, the government conceded that, without the suppressed

 evidence, it was unlikely the defendants would be convicted of the presumption-qualifying

 offenses. Id. at 1237-39. The defendants argued that, with suppression, the rebuttable

 presumption was not triggered, as well as that the suppressed evidence must be entirely ignored

 when considering the weight of the evidence to find whether defendants would pose a danger to

 the community if released. Id. at 1239-40. The court considered these arguments and found that

 the rebuttable presumption was not triggered. However, in focusing on the § 3142(g) factor

 relating to community danger and in light of the “cost-benefit” analysis that the Supreme Court

 has established to determine what other use can be made of inherently trustworthy inculpatory

 evidence that has been deemed inadmissible at trial, id. at 1240 (citing United States v. Leon, 468

 U.S. 897, 907 (1984)), the court held:

        A court should have as much information as possible to evaluate properly whether
        a defendant poses any risk of danger to the community if released. Thus, even
        though this Court suppressed evidence for purposes of trial, that evidence may
        speak loudly concerning community safety because it involves convicted felons in
        unlawful possession of multiple weapons and cocaine. The Court concludes,
        therefore, consideration of the suppressed evidence is warranted under cost-benefit
        analysis, particularly when applying the statutory release factors that bear on
        community safety. The Court, therefore, applies § 3142(g) to the pending Motions
        in light of the circumstances known to the Court, including the evidence that
        implicates both Defendants in the charged gun and drug crimes.




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 Id. at 1240 (emphasis added). Despite a pending appeal of the suppression order extending the

 length of detention, the court ordered that detention should continue. Id. at 1242.

        Also instructive is a decision turned up by the Court’s research issued by the District

 Court for the District of Colombia: United States v. Taylor, 289 F. Supp. 3d 55 (D.D.C. 2018). In

 Taylor, the court reconsidered the detention decision of a magistrate judge following a

 suppression hearing at which the court heard evidence that “call[ed] into question the connection

 between [the defendant] and much, if not all, of the contraband at issue and that establishes a

 plausible link between the contraband and a third party,” including evidence procured in

 contravention of Miranda (and therefore of questionable trustworthiness) that the government

 conceded should be suppressed. Id. at 61, 64-65. The court held that this new information did

 not alter the probable cause determination so that the rebuttable presumption remained in the

 case, but that it certainly must be considered in applying the “weight of the evidence” factor. Id.

 at 64-65, 67. Nevertheless, focusing on the BRA’s provision eschewing application of the rules

 concerning admissibility, the court found that the fourth § 3142(g) factor – the nature and

 seriousness of the danger posed by release – permits such suppressible evidence to be considered

 in determining the danger posed to the community of releasing a defendant facing gun/drug

 trafficking charges that carry a sentence of ten years or more. Id. at 70-72. On balance, the court

 found that conditions could be set and defendant was released. Id. at 72-73.

        To summarize, when the BRA is interpreted in light of these cases, it is clear that the

 Court can exercise its discretion to continue to consider inherently trustworthy suppressed

 evidence for purposes of the BRA detention analysis, but also may disregard it, particularly

 where suppression has effectively eliminated from admission at trial all essential evidence of a

 particular charge. In that event, as to that charge, the Court may decline to apply the rebuttable



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 presumption that the unprovable-at-trial offense would otherwise trigger. And the Court may

 reweigh the evidence informing the flight/danger analysis in light of the impact of the far weaker

 case on the defendant’s motivation to appear and to maintain good behavior. However, as long

 as the charged offense remains supported by probable cause, and the danger to the community

 posed by release is serious, the Court may and should continue to consider inherently trustworthy

 suppressed evidence to evaluate properly whether release poses danger to the community.

                2.      Facts and Analysis

         Defendant argues that the evidence that is inadmissible as to him based on the

 suppression order, as well as evidence that he may yet move to suppress on other grounds not yet

 presented to the Court, leaves the government with a circumstantial case that is so insufficient

 that it no longer triggers the rebuttable presumption and that the weight of the untainted evidence

 is so slight that it no longer supports a finding that the danger and risk of nonappearance posed

 by Defendant’s release cannot be addressed by conditions. The government acknowledges that

 the suppression order has adversely impacted the strength of the evidence supporting the charged

 offense of aiding and abetting the kidnapping. However, it argues vociferously that there is

 sufficient untainted evidence of Defendant’s participation in three offenses based on the drug

 trafficking conspiracy to be characterized as “strong” for purposes of the BRA analysis. Despite

 its concession that the quantum of evidence supporting the kidnapping charge has “taken a hit”

 due to the suppression order, the government points to the law summarized above and argues that

 it clearly permits the Court to consider the suppressed evidence, particularly with regard to

 whether release would expose the community to the danger of Defendant’s continued drug

 trafficking.




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          Defendant does not materially disagree with the government’s analysis of the impact of

 the suppression order – he all but acknowledges that the government still has ample

 circumstantial (though, as he has long asserted, weak) evidence of drug trafficking. He contends

 that the suppression order has materially diluted the evidence of kidnapping against him, and that

 it will be diluted further by follow-on suppression motion(s) that he plans to file. As to drug

 trafficking, Defendant essentially reiterates the arguments he presented during the proceedings

 that culminated in the Amended Detention Order. Thus, he concedes, for example, that the

 government can still present at trial: the circumstances surrounding his arrest at the time of the

 controlled delivery of a kilogram of cocaine; his repeated travel to Puerto Rico; the mailing of

 drug packages from Puerto Rico and an attempt to send cash back to Puerto Rico by various

 coconspirators; the images of someone who looks like him (masked) picking up a suspected drug

 package from his cousin’s (a coconspirator) mother; his presence in the area of delivery of

 another suspected drug package; and the items found in the vehicle Defendant was driving on

 arrest (not only the two phones, but also an expandable baton, can of defense spray and surgical

 masks that match the description of those used by the kidnappers). Defendant argues that the

 damning evidence sent to his phones from the phones of other conspirators (which links him to

 the kidnapping, and which he lacks standing to suppress) will not be admissible because he

 expects to move to suppress it on other grounds. Defendant further argues that he will be able to

 explain to the jury that his many contacts with coconspirators were the result not just of family

 relationships, but also because he was working for a legitimate business, the family window

 cleaning company.8 He contends that this far weaker case materially impacts his motivation to


 8
   The Court notes that this representation clashes materially with the information that Defendant provided to Pretrial
 Services during his bail interview on February 17, 2023, when he was questioned about employment and provided
 detailed information about five different employers going back to 2007 but did not say that he had ever worked for
 the family window cleaning company, Northeast Window Cleaning, which has been linked to the drug trafficking

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 appear and defend through trial. That is, the suppression order, coupled with Defendant’s

 anticipated suppression of more evidence linking him to the kidnapping, has materially impacted

 the risk of flight in that his incentive now is to remain and see this case through to the end.

          When the legal principles summarized above are applied to the facts of this case, the

 Court’s path becomes clear. This is not a case where all essential evidence of drug trafficking

 has been held to be inadmissible; indeed, as Defendant concedes, the circumstantial evidence of

 his participation in the drug conspiracy, which the Court previously found “sufficient” to support

 the Amended Detention Order, ECF No. 98 at 3, appears largely to remain available. Further, it

 is the grand jury’s finding of probable cause to charge the drug trafficking offenses in the SSI

 that triggered the rebuttable presumption and (since the Notice of Enhanced Penalties) the risk of

 an unusually lengthy sentence in the event of conviction; Defendant does not suggest that those

 Counts will be subject to dismissal or judgment of acquittal in light of the suppression order as in

 Fulgham and Burciaga, nor does the government concede (by contrast with Barner and Jay) that

 the suppression order means it cannot prove drug trafficking. And it was drug trafficking that

 was the focus of the Amended Detention Order. Specifically, it was drug trafficking, considered

 in light of Defendant’s history and characteristics, particularly his criminal history and conduct

 on supervision, that the Court then found clearly and convincingly established that “the danger

 posed to the community by Defendant’s persistent involvement in drug trafficking cannot

 adequately be addressed by conditions.” ECF No. 98 at 3. Kidnapping, which the government

 concedes has “taken a hit” due to the suppression order, did not play a major role in the Amended



 and kidnapping. ECF No. 1-1 ¶¶ 10, 29. With trust and truthful engagement with Pretrial Services essential to
 successful pretrial supervision, this seeming discrepancy raises concerns about the Court’s ability to set conditions.
 See United States v. Espitia Cuellar, 23-cr-116-WES-PAS-4, ECF No. 38 at 5-6 (D.R.I. Feb. 13, 2024) (detention
 ordered of defendant who provided false information during several pretrial services interviews, establishing that she
 cannot be trusted, which is essential to setting conditions).


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 Detention Order’s danger analysis. It does not trigger the rebuttable presumption and there is no

 representation regarding the length of the sentence to which it would expose Defendant. Thus,

 even if the weight of the evidence of kidnapping were now deemed so weak as to be unlikely to

 result in conviction (which the government has not conceded) what remains (drug trafficking) is

 more than sufficient to support the Court’s finding that the government has sustained its burden

 of clearly and convincingly showing that no conditions or combination of conditions could

 adequately address the danger that Defendant’s release would pose.

         Based on the foregoing, the Court finds that the rebuttable presumption arising from the

 grand jury’s probable cause finding supporting the drug trafficking offenses remains in the case

 despite the suppression order (nor is it undermined if the suppressed evidence is ignored).

 Further, despite the suppression order, the Court finds that the Leon cost-benefit analysis tips

 strongly in favor of continuing to use the suppressed evidence, which is inherently trustworthy,

 to evaluate properly the fourth § 3142(g) factor: whether Defendant’s release poses the danger to

 the community of continued drug trafficking. Jay, 261 F. Supp. 2d at 1240-42. With these

 findings, to the extent that it rests on the suppression order, Defendant’s motion for bail must be

 denied. Alternatively and mindful of Angiulo’s suggestion that suppressed evidence may

 appropriately be ignored post-suppression, the Court has examined whether, if the suppressed

 evidence9 were to be excluded entirely from the detention analysis as to drug trafficking, the

 outcome would change. The Court finds that it would not because the untainted evidence of drug

 trafficking remains sufficient to support both the rebuttable presumption and the Amended

 Detention Order’s core finding that the danger of continued drug trafficking cannot adequately


 9
  This analysis ignores only the suppressed evidence, not the evidence (principally impacting the weight of the
 kidnapping charge) that Defendant represents he plans to move to suppress. Angiulo, 755 F. 2d at 974 (suppressible
 evidence should be considered “at least until a court has decided that [it] was not obtained legally”).


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 be addressed by conditions. That is, when the Court declines to rely on the suppressed evidence

 with respect to the rebuttable presumption and danger to the community, the result is the same –

 the motion for bail is denied and the Amended Detention Order remains in effect.

        The Court considers separately how the suppression order has affected the weight of the

 evidence and its impact on Defendant’s motivation to remain, appear and defend (and be of good

 behavior while doing so). At first blush, there seems to be a somewhat more compelling

 argument that the suppression order clearly undermines the weight of the evidence in motivating

 Defendant to abscond, which is a factor that must be considered under § 3142(g)(2). This

 proposition is undermined, however, by the reality that, in this case, the motivation to flee is

 more logically linked to drug trafficking, which is largely unaffected by the suppression order, in

 that (unlike kidnapping) it is the charged offense that carries a significant risk of a very long

 sentence. Thus, when the suppressed evidence is excluded from consideration in determining

 Defendant’s motivation to stay and defend, as the cases suggest it should be, the findings in the

 Amended Detention Order are nevertheless sustained.

        At bottom, this is a case where the danger of continued drug trafficking was and remains

 the dominant reason for detention. Despite the suppression order, the Court can and, in these

 circumstances, should continue to consider the suppressed evidence, both as to the rebuttable

 presumption triggered by drug trafficking and as to the danger to the community due to drug

 trafficking. Further, the detention conclusion does not change when the suppressed evidence’s

 unavailability at trial is considered in assessing its weight as impacting Defendant’s motivation.

 And even if the suppressed evidence were to be entirely removed from consideration as

 Defendant argues, because it relates principally to kidnapping, the indicted offenses triggering

 the rebuttable presumption remain adequately supported by probable cause, the evidence of



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 danger to the community remains sufficiently strong and the untainted evidence is of sufficient

 weight to leave the Amended Detention Order in place.

        B.      Length of Time in Pretrial Detention

        With one exception, discussed below, the length of detention is not a factor for the Court

 to consider in performing the BRA analysis because such adjudication should occur in the

 context of the Speedy Trial Act. See United States v. Tortora, 922 F.2d 880, 889 (1st Cir. 1990)

 (“Congress conspicuously omitted any instruction to consider the potential length of detention as

 part of the pretrial release calculus.”); United States v. Mubarak, Criminal Action No. 20-CR-

 10300-ADB, 2021 WL 242049, at *5 (D. Mass. Jan. 25, 2021) (challenges to the length of

 detention are best adjudicated in the context of the Speedy Trial Act). In this case, despite the

 unusually long time that the case has been pending, the government estimates that less than half

 of the authorized time to trial under the Speedy Trial Act has expired and Defendant has not

 disagreed. Moreover, with mandatory minimum sentences of ten to fifteen years arising from the

 drug trafficking offenses in light of the Notice of Enhanced Penalties (and estimated guidelines

 that are even longer), this is not a case where the period of detention begins to approach the total

 incarcerative sentence that is likely to be imposed. Nor has Defendant articulated another basis

 in law for this Court to find that continued pretrial detention in the circumstances here violates

 his constitutional rights. See, e.g., United States v. Benjamin-Hernandez, 49 F.4th 580, 585-87

 (1st Cir. 2022) (addressing four-factor test employed to address speedy trial act challenges and

 finding that thirty-four-month delay did not violate Sixth Amendment speedy trial rights).

 Therefore, I decline to order release that poses danger that cannot adequately be addressed by

 conditions based on the length of Defendant’s detention. See United States v. Onyobeno, 19-cr-

 115-JJM-PAS, ECF No. 126 at 11-12, adopted by text order (D.R.I. Dec. 1, 2022).



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        To counter this argument, Defendant relies on Chen, but it does not undermine this

 approach. In Chen, the court noted that, “[a]t some point, a defendant’s Constitutionally-

 protected interests in due process and a speedy trial overshadow the other pretrial release issues.”

 820 F. Supp. 1210 (emphasis added). Chen finds that the “point” had been reached in the unique

 circumstances presented in that case; these include the defendants’ lack of any criminal history,

 strong ties to the community and solid employment, the complete absence of danger and the

 impact on falling real estate values on the defendants’ ability to post bond. Id. at 1208-10. Chen

 does not advance Defendant’s cause in this case where danger is the dominant concern, and

 Defendant’s history and characteristics do not support an order of release.

        The exception is a factor that was in the background when the Court issued the Amended

 Detention Order – the pending violation proceeding in Defendant’s 2014 case. See United States

 v. Garay, 14-cr-91-JJM, ECF No. 31. In that violation proceeding, the Court stayed the matter

 pending events in this case; Defendant did not argue for release and an order of detention was

 entered. Minute Entry of June 29, 2021. The statutory maximum period of incarceration

 applicable to those supervised release violations is three years. 18 U.S.C. § 3583(e)(3); Garay,

 14-cr-91-JJM, ECF No. 31 at 4. Defendant has now been detained so long that he is nearing the

 maximum period of incarceration that could be imposed for violating his conditions of release.

 Unlike the situation that existed as of the entry of the Amended Detention Order in February

 2023, the passage of time means that there is no longer a serious risk that the Court will set

 conditions in this case, in which the government bears the burden of persuasion, but continue the

 detention order in 14-cr-91-JJM, in which Defendant must shoulder the burden. Compare 18

 U.S.C. § 3142(e), with Fed. R. Crim. P. 32.1. Therefore, while the Court certainly must still

 consider that Defendant was on federal supervision for heroin trafficking at the time of the



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 conduct in issue in this case, it will no longer consider the detention order entered in connection

 with the supervised released violation proceeding as a reason for continuing detention in this

 case. However, the elimination of the detention order in 14-cr-91-JJM from the background does

 not adversely impact the analysis supporting the Amended Detention Order summarized above.

 Thus, this timing issue is not a reason to set bail conditions.

        C.      Unauthorized Trips to Puerto Rico During Supervision

        Defendant was arrested on June 9, 2021. At the time of arrest, he had been on federal

 supervision since August 20, 2019, following a 2015 conviction for trafficking heroin in 2014.

 At the time of the 2014 conduct, Defendant was on federal supervision following a 2011 federal

 conviction for trafficking cocaine and was subject to a 2013 state deferred sentence following a

 nolo contendere plea for fraud committed during employment (setting up false cell phone

 accounts and defrauding his employer of nine cell phones). Probation’s records reflect technical

 violations throughout the period of federal supervision that ended with the 2014 arrest.

        During the period of federal supervision that ended with the 2021 arrest, Defendant’s

 conditions included the requirement that he was prohibited from travelling outside the District of

 Rhode Island without the permission of the probation officer or the Court. Garay, 14-CR-91JJM,

 ECF No. 28 at 3 (D.R.I. Apr. 17, 2015). The supervision record for this period establishes that

 Defendant understood this condition and knew how to seek permission to travel in that, in June

 2020, Defendant requested permission to drive to the Carolinas to pick up his son. In connection

 with this request, Defendant completed the required forms and provided the required

 information; as a result, this request to travel was approved.

        Pretrial Services has confirmed that Defendant never asked for permission to travel to

 Puerto Rico. The government represents that the untainted evidence establishes that Defendant



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 traveled to Puerto Rico three times, in August/September 2020, in January 2021, and in May

 2021.10 The government further represents that there is evidence linking these trips to the drug

 trafficking conspiracy. Specifically, the August/September 2020 trip coincided with the

 attempted smuggling to Puerto Rico through Logan Airport of $40,000 in bulk cash; the January

 2021 trip coincided with trips by two of Defendant’s coconspirators; and the May 2021 trip

 coincided with the mailing from Puerto Rico to Rhode Island of two packages suspected to

 contain cocaine, one of which was retrieved by Defendant. Importantly, all three of these trips

 were taken after Defendant’s trip to pick up his son for which he obtained permission.

 Collectively, this evidence clearly and unambiguously establishes that Defendant not only

 intentionally disregarded and blatantly violated this critical condition, but also that he was able to

 do so surreptitiously enough to evade detection of the unauthorized travel by his supervising

 officer. The fact that Defendant chose to obtain permission to pick up his son, but successfully

 duped his supervising officer so that he could repeatedly engage in unauthorized travel to Puerto

 Rico informs the BRA analysis regarding Defendant’s trustworthiness to cooperate in

 supervision. The surreptitious nature of Defendant’s conduct is also pertinent on the danger

 prong in that it tends to establish that these trips were not for a legitimate purpose thereby

 corroborating the government’s contention that the trips were in furtherance of drug trafficking.

             Piled on top of the history and characteristics analysis done for the Amended Detention

 Order, this evidence tips strongly in favor of continued detention. That is, when the Court was

 considering only Defendant’s two prior convictions for drug trafficking, his state fraud

 conviction, his pattern of violating supervised release by drug trafficking while on supervision

 and by committing technical violations, and his lack of meaningful past employment, the Court


 10
      In rebuttal, Defendant argued that there was no reason not to travel, not that the trips did not occur.


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 found that this evidence clearly and convincingly established that Defendant’s release would

 likely lead to continued drug trafficking, which poses significant danger to the public. This new

 evidence establishes not only that Defendant cannot be trusted to comply with the requirements

 of supervision but also that he has the skills to evade detection when he intentionally and

 blatantly chooses not to comply. As this Court has repeatedly held, “[e]ven the Court’s most

 powerful condition – home detention with GPS monitoring – is effective only with a trustworthy

 defendant committed” to compliance with the Court’s requirements. Onyobeno, 19-cr-115-JJM-

 PAS, ECF No. 126 at 10.

         D.       Conduct While Detained

         Defendant asks the Court to consider the many E-Learning courses he took during a five-

 month period – April to August 2023 – while at the Wyatt Detention Facility.11 See Def. Exhibit

 ECF No. 287-1. Also to be considered is information elicited in response to my inquiry – that

 Defendant has been discipline-free throughout the thirty-three-month period of detention. This

 evidence is certainly positive in that it establishes that Defendant is an individual who can

 control his behavior and appropriately use his time when he chooses to do so. However, this

 evidence does not undermine the core showing made by the government – Defendant’s pattern of

 persistently reverting to drug trafficking and successfully evading supervision to do so.

 Therefore, while laudable, Defendant’s conduct while detained does not impact my

 determination that detention should continue.

 III.    Conclusion

         Based on the foregoing, Defendant’s motion for bail (ECF No. 270) is denied.


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   The Court does not know why this cluster of activity seems to be time-limited to a few months in 2023. Mindful
 that there may be an explanation, I have not drawn the inference that Defendant failed to engage in available
 coursework before or after this five-month period.


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 /s/ Patricia A. Sullivan
 PATRICIA A. SULLIVAN
 United States Magistrate Judge
 March 22, 2024




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